                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    5:03CV49-3-V
                                   (5:98CR289-V)


TERRY KERMIT JOHNSON,               )
                                    )
      Petitioner,                   )
                                    )
             v.                     )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
      Respondent.                   )
____________________________________)

        THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, Or Correct

Sentence under 28 U.S.C. § 2255, (Document No. 1); the Government’s Answer to Petitioner’s

Motion and Motion for Summary Judgment (Document No. 3), and “Petitioner’s Response to the

Government’s Answer to Petitioner’s 28 U.S.C. § 2255 Motion and Motion for Summary

Judgement”(Document No. 8.) For the reasons stated herein, the Government’s Motion for

Summary Judgment will be granted, and the Petitioner’s Motion to Vacate will be denied and

dismissed.

                     1. FACTUAL AND PROCEDURAL BACKGROUND

        A review of the record reveals that on July 2, 2001 Judge Malcolm Howard sentenced

Petitioner to a term of imprisonment of 120 months for possession of cocaine with intent to distribute

following Petitioner’s third jury trial.1   The Fourth Circuit, in an unpublished opinion, affirmed

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          Petitioner’s first trial began on July 14, 1999. On July 16, 1999 this Court declared a
mistrial. On April 10, 2000 a second trial began as to Petitioner. On April 17, 2000 this Court
declared a mistrial. On January 18, 2001, this Court issued an Order, on its own motion,
transferring the case to Judge Malcolm Howard. Petitioner was again tried on January 29, 2001

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Petitioner’s sentence on March 20, 2002. Petitioner filed a certiorari petition in the Supreme Court

on June 14, 2002. The Supreme Court denied certiorari on October 17, 2002.

        On April 18, 2003, Petitioner filed a Motion to Vacate, Set Aside, or Correct Sentence

alleging that his trial counsel was ineffective for: 1) failing to object to the judge’s decision to declare

a mistrial following his second trial; 2) for failing to raise a double jeopardy challenge at his third trial;

3) for failing to object to erroneous information in Petitioner’s pre-sentence report; and 4) for failing

to argue that Petitioner qualified for the safety valve provision set forth in 18 U.S.C. § 3553.2

                                    II. STANDARD OF REVIEW

        Petitioner’s contention that he received ineffective assistance of counsel is governed by the

holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the Supreme Court

held that in order to succeed on an ineffective assistance of counsel claim, a petitioner must establish

that counsel’s performance was constitutionally defective to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby, and that there is a reasonable

probability that but for the error, the outcome would have been different.                  In making this

determination, there is a strong presumption that counsel’s conduct was within the wide range of

reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md., 956 F.2d 1290,

1297-99 (4th Cir.), cert. denied, 474 U.S. 856 (1995). Petitioner bears the burden of proving

Strickland prejudice. Fields 956 F.2d at 1297. It petitioner fails to meet this burden, a “reviewing


before the Honorable Malcolm Howard and on February 2, 2001, the jury returned a verdict of
not guilty as to Counts one, six and seven of the Second Superseding Indictment and a guilty
verdict as to Count eight of the Second Superseding Indictment
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          The Court notes since the time that Petitioner filed his Motion to Vacate, Petitioner has
filed several motions to amend his Motion to Vacate, each of which was denied by this Court.
(See Documents 11, 13 and 18.)

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court need not consider the performance prong. Id. at 1290.

                                             III. Analysis

A. Defense Counsel Michael Grace’s Failure to Object to the Trial Judge’s Declaration of a

Mistrial

        Petitioner’s first claim of ineffective assistance of counsel is that his attorney, Michael Grace,

failed to object to the Court’s declaration of a mistrial following his second trial.

        A review of the trial transcript reveals that after approximately three hours of deliberations,

including a question by the jury,3 and this Court’s delivery of an Allen4 charge following a second

question5, the jury informed the Court that it had reached a verdict on all counts. The clerk published

the verdict, which indicated that the defendant was guilty of counts six, seven and eight of the Bill



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          The note from the jury read: “We the jury of the case United States of America versus
Terry Kermit Johnson, would like to watch the video of the drug deal buy and trade or sale all
along with Terry Kermit’s testimony.” (Verdict Transcript at 3.) The Court instructed the jury
that as to the latter portion of their request, they would have to rely on their best recollection as
to the testimony of the defendant. The Court allowed the jury to watch the video they requested.
       4
            Allen v. United States, 164 U.S. 492 (1896).
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          Although the specific question was not read into the record, a review of the transcript
reveals that the question indicated that the jurors reached a stalemate in their deliberations. The
Court discussed the note with counsel and decided to instruct the jury in accordance with Allen v.
United States, as to their duty to deliberate. Specifically the Court instructed; “It’s your duty as
jurors to talk with one another and to deliberate in the jury room. You should try to reach an
agreement if you can. Each of you must decide the case for yourself, but only after consideration
of the evidence with the other members of the jury. While this is going on, do not hesitate to re-
examine your own opinions and change your mind if you are convinced that you were wrong.
But do not give up your honest belief solely because the others think differently or merely to get
the case over with. In a very real way, you are judges, judges of the facts. Your only interest is
to determine whether the government has proved the defendant guilty beyond a reasonable doubt
as to the various counts in the indictment. With that instruction, I appreciate your patience with
the court, but I would ask you to proceed and see what you may find.” (Verdict Transcript at
10.)

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of Indictment. When the jury was polled, however, juror number one indicated that she wanted the

other jurors polled first. After the other jurors were polled and indicated that the verdict read by the

clerk was their verdict, the Court inquired of juror number one whether she would prefer further

deliberations or whether the verdict read by the clerk remains her verdict. In response Juror number

one stated “I don’t agree with it” and then “[b]ut I voted anyway.” (Transcript of the Verdict, April

17, 2000 at 14.) This Court then declared a mistrial and thanked and dismissed the jury . Neither the

attorney for the Defendant nor the attorney for the United States objected. At the conclusion of the

proceeding, after the jury had been dismissed, the Court inquired if either lawyer had anything for the

Court. Neither responded.

       The Fourth Circuit has applied the “manifest necessity” standard to cases in which the trial

court has determined that a mistrial is necessary. The trial court’s determination that a mistrial is

manifestly necessity is entitled to great deference. Sanders v. Easley, 230 F.3d 679 (2000).

       In the instant case, this Court’s decision to grant a mistrial was well supported by the record.

The Court’s decision to grant a mistrial was prompted by the following facts: (1) the jury had already

been given an Allen charge in response to a note indicating they were deadlocked; (2) the jury

represented to the Court that it had reached a unanimous verdict; and (3) when the Court polled the

jury, juror number one indicated that jury’s written verdict was not her verdict.

       Under the above circumstances, the Court was well within its discretion to declare a mistrial.

As the Fourth Circuit noted in Gilliam v. Foster, 75 F.3d 881, 895 (4th Cir. 1996):

                And while manifest necessity for a mistrial does not require that a mistrial be
       “necessary” in the strictest sense of the word, it does require a high degree of necessity.
       Arizona v. Washington, 434 U.S. at 506, 98 S.Ct. at 831. Perhaps the clearest example of
       a situation in which manifest necessity exists for a mistrial is when a jury is unable to reach
       a verdict. Id. at 509, 98 S.Ct. at 832. At the other extreme are situations in which a


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          prosecuting attorney seeks mistrial in order to have additional time to marshal evidence to
          strengthen the case against the defendant. Id. at 508, 98 S.Ct. at 831-32. Between these two
          extremes exists a spectrum of trial errors and other difficulties, some creating manifest
          necessity for a mistrial and others falling far short of justifying a mistrial. See Id. at 510, 98
          S.Ct. at 832-33.

It is well settled that the jury’s failure to agree on a verdict is an instance of “manifest necessity.”

United States v. Perez, 22 U.S. 579,580 (1824); Richardson v. United States, 468 U.S. 317, 323-24

(1984).

          There are many reasons which support Attorney Grace’s decision not to oppose a mistrial.

Those that come to mind are: first, this was Petitioner’s second mistrial, and the United States

Attorney’s Office generally does not try a case more than twice. Mr. Grace could have well assumed

that a third trial was unlikely. Therefore, a mistrial could have resulted in a subsequent dismissal of

the case by the government.

          Furthermore, from the polling of the jury, Mr. Grace knew that eleven of the twelve jurors

had publically expressed their belief that the he was guilty of the Counts with which he was charged.

Only one juror disagreed. Had Mr. Grace insisted that the jury resume their deliberations, he ran the

risk that the other eleven jurors would convince the “hold-out” juror that Mr. Johnson was in fact

guilty. This would have resulted in Defendant’s immediate conviction.

          Petitioner has simply not established that his attorney’s performance was deficient as required

under the Strickland test. Additionally, Defendant claims that this Court violated Federal Rule of

Criminal Procedure 26.3 by failing to give the parties an opportunity to comment and to suggest

alternatives to a mistrial.

          However, in United States v. Canady, 142 Fed.Appx. 133 (4th Cir. 2005), the Fourth Circuit

held that while the district court did not specifically ask the parties to state their positions prior to


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declaring a mistrial, the court complied with the purpose of Rule 26.3 when it previously asked the

parties how to deal with the jury’s deadlock. Here, when the jury send back their second question

indicating that they were deadlocked, the Court showed the parties the note and asked how counsel

would like to handle the situation. The government asked for an Allen charge. Defense counsel

asked the Court to inquire how resolute the jury felt and stated that if they were resolute, he saw no

need for the Allen charge at all.6 (Verdict Transcript at 6.) Mr. Grace then asked the Court to be

heard on his concerns regarding an Allen charge, which the Court allowed. Mr. Grace explained that

his concern was that in his experience he had never heard language of an Allen charge which did not

sounds like a directive to the jury to go back and reach a guilty verdict. He also expressed concern

that if an Allen charge were given that it be clear that it applied to all counts of the Bill of Indictment.7

        After hearing argument from Mr. Grace, the Court decided to give the Allen charge but

agreed to tailor the instruction to address Mr. Grace’s concern that the Allen charge apply to all

counts of the Indictment.      Therefore, like the Canady case, this Court did consult with counsel

regarding the jury’s apparent deadlock even though the Court declared a mistrial without specifically

allowing the parties to comment. Moreover, Mr. Grace by making objection to the Allen charge and

instead asking that the Court inquire how resolute the jury was (and if resolute not to give an Allen

charge at all) indicates that Mr. Grace was asking for a mistrial instead of the Court allowing the jury

to deliberate further. Petitioner has not raised the wisdom of counsel’s objection to the Allen charge

in this Motion. Therefore, Petitioner actually got what his counsel was asking for - - a mistrial.


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         Presumably, if Mr. Grace saw no reason for an Allen charge, he was asking the Court to
declare a mistrial at that point in time.
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        The note from the jury indicated that the jury may have already reached a verdict on one
count and were “deadlocked” as to the remaining counts.

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However, the Court declared the mistrial thirty- two minutes after delivering the Allen charge.

(Verdict Transcript 8-12.)

        Furthermore, even if this Court committed error by failing to comply with Rule 26.3,

Petitioner cannot establish that the error affected his substantial rights, because this Court’s

determination that the jury was deadlocked justified its declaration of a mistrial. See United States

v. Olana, 507 U.S. 725, 734 (1993); United States v. See, 505 F.2d 845, 851-52 (9th Cir. 1975). In

fact, in United States v. Avnaim, 211 F.3d 1275 (9th Cir. 2000), the Ninth Circuit stated that even

if the court committed error by violating Rule 26.3, defendant could not demonstrate that the error

affected his substantial rights because the outcome would have been the same. In other words, even

if the court had complied with Rule 26.3 and defendant had objected to the mistrial and offered

alternatives, the court’s finding that the jury was deadlocked still would have justified its declaration

of a mistrial.

        Mr. Grace was not ineffective for failing to object to this Court’s decision to grant a mistrial.

Petitioner has not established either prong of the Strickland test, therefore, this claim of ineffective

assistance of counsel is denied.

B. Defense Counsel Tamura Coffey’s Failure to raise a Double Jeopardy Claim

        Next, Petitioner claims that his trial attorney from his third trial, Tamura Coffey, was

ineffective because she failed to raise a double jeopardy claim. According to Ms. Coffey’s affidavit,

she reviewed the transcripts of the second trial including this Court’s initial charge to the jury, the

Allen charge, the reading of the verdict and the polling of the jury and concluded that “the mistrial

granted by [this Court] had been providently granted and that no issue concerning the mistrial should

be pursued.”


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(Tamura Coffey Affidavit at ¶ 3.)

        The Double Jeopardy Clause states that no person shall “be subject for the same offense to

be twice put in jeopardy of life or limb.” U.S. Const. amend V. The Clause allows for a retrial

following a mistrial provided that, “taking all the circumstances into consideration, there is a manifest

necessity” for declaring a mistrial. United States v. Perez, 22 U.S. 579 (1824). As previously

discussed, it has long been established that the failure of a jury to agree on a verdict is an instance of

“manifest necessity.” Id. at 579-80; Richardson v. United States, 468 U.S. 317, 323-24 (1984).

        Furthermore, as discussed in the previous section of this Order, even if this Court committed

error by failing to comply with Rule 26.3, Petitioner cannot establish that the error affected his

substantial rights, because this Court’s determination that the jury was deadlocked justified its

declaration of a mistrial. See United States v. Olana, 507 U.S. 725, 734 (1993); United States v. See,

505 F.2d 845, 851-52 (9th Cir. 1975). Moreover, even if this Court had complied with Rule 26.3, this

Court’s determination that the jury was deadlocked still would have justified its declaration of a

mistrial. United States v. Avnaim, 211 F.3d 1275 ((th Cir. 2000)

        Therefore even if this Court were to assume that Ms. Coffey was ineffective for failing to raise

a double jeopardy challenge to Petitioner’s third trial, there is no prejudice as the Court’s decision

to declare a mistrial was supported by the fact that the jury had already received an Allen charge and

had conveyed to the Court that they had reached a verdict when if fact they had not, as evidenced

by polling the jury. These facts indicate a “manifest necessity” to declare a mistrial. Given that the

facts support this Court’s decision to declare a mistrial, notwithstanding the Court’s failure to comply

with Rule 26.3, there is no prejudice to Petitioner for his counsel’s failure to bring a double jeopardy

challenge to Petitioner’s third trial. Therefore, Petitioner’s ineffective assistance of counsel claim is


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dismissed as he has not established the prejudice prong of the Strickland test.

C. Defense Counsel, Tamura Coffey’s, Failure to Object to Erroneous Information in the

Presentence Report

        In his response brief, Petitioner concedes that he cannot show prejudice and withdraws this

claim. Therefore, this specific claim of ineffective assistance of counsel is withdrawn and is no longer

before the Court.

D. Defense Counsel, Tamura Coffey’s, Failure to Advise Defendant of the Safety Valve

        Petitioner contends that his trial attorney was ineffective for failing to explain the safety valve

provision of 18 U.S.C. §3553(f). Petitioner argues that if Ms. Coffey had explained the provisions

of the safety valve to him, he would have made himself available for the opportunity to qualify for the

safety valve.

        The safety valve provision of 18 U.S.C. §3553(f) requires a defendant to provide truthful

information in order to obtain a lesser sentence. In order for Petitioner to establish that his attorney

was ineffective for failing to explain the safety valve provision to him, Petitioner must establish that

he was prejudiced by Ms. Coffey’s failure to advise him of the requirements of the safety valve

provision.

        Petitioner has made no effort to argue the prejudice prong of the Strickland test. Moreover,

Petitioner’s assertion that had he been informed of the requirements of the safety valve provision, he

would have “made himself available for an opportunity to qualify for the safety valve,” (Petitioner’s

Response Brief at 11.) is disingeneous given that the safety valve requires a defendant to provide

truthful information to obtain a lesser sentence. Throughout the trial, Petitioner maintained his

innocence and persisted in his claim of entrapment. In fact, this Court concluded that Petitioner’s


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involvement in the drug trade was far more extensive than petitioner was willing to acknowledge:

       THE COURT: All right. I’ve made up my mind on this issue. I don’t necessarily have to
       incorporate the conspiracy by a preponderance of the evidence. I’m satisfied by a
       preponderance of the evidence that the January ‘97 trip with Mr. McIntyre, Battle and Mr.
       Johnson was part of this overall drug operation. I’m satisfied that a year and a half later,
       January through March of ‘98, and the three - - and the conviction of March ‘98 that he still
       was involved in it. And, therefore, I deny the defendant’s objection and find he’s not entitled
       to a minor participant.
               Based on this evidence, the Court finds that it’s reasonable to believe that Mr. Johnson
       was agreeable to, and was knowledgeable of the illegal drug trafficking activities, as were his
       codefendant, and, therefore, he is considered no less culpable than the other defendant in the
       case.
(Sentencing Transcript, July 2, 2001 at 23; Joint Appendix at 855.)

       The Court’s findings regarding Petitioner’s involvement in drug trafficking activities are in

sharp contrast to Petitioner’s statement at sentencing:

                 I don’t deserve what I’m getting today. I’m not a drug dealer. Because it’s a known
         fact that your mother knows best. Your mother knows you better than anybody else in this
         world. And my mother didn’t raise no criminal My mother didn’t raise no drug dealer.
                 I’m hurting. Because I have been suffering for a long time in and out of court. And
         I have got strong community ties. They know that I’m not a drug dealer. My family knows
         that I’m not a drug dealer.
                 I’ve done the right thing in my life, Your Honor. And for the Court to take my life
         and take me away from my son - I can’t see my son grow up. I can’t see him grow up
         anymore. I was with him every single day. This is the most I have ever been from him. I was
         his teacher, his coach and his best friend. I don’t deserve what I’m getting today, Your
         Honor.
(Id. at 46-48; Joint Appendix at at 878-79.)

       Petitioner was not truthful about his participation in the drug trafficking activities even at the

time of sentencing. Therefore he would not have been entitled to the safety valve provision.

Petitioner has not shown how he was prejudiced by his attorney’s failure to explain the safety valve

provision to him. Therefore, Petitioner’s claim that his attorney was ineffective for failing to explain

the provisions of the safety valve provision to him is denied.




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                                           IV. ORDER

       NOW, THEREFORE, IT IS HEREBY ORDERED that the Government’s Motion for

Summary Judgment (Document No. 3) is GRANTED, and Petitioner’s Motion to Vacate

(Document No. 1) is DENIED AND DISMISSED.

       FURTHERMORE, Petitioner’s Motion to Amend, filed June 14, 2006 (Document No.

22) is DENIED as it is futile due to the fact that it is time barred and the amendment does not

relate back.8   MOREOVER, Petitioner’s Motion for Release Pending Disposition of 2255

Motion filed June 8, 2006 (Document No. 21), and Motion for Trial Transcripts filed June 20,

2006 (Document No. 23) are DENIED as moot.

SO ORDERED.




                                                 Signed: July 5, 2006




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          The Court notes that the Petitioner’s Motion to Amend filed on June 8, 2006 is his
fourth such motion. Petitioner’s previous three motions to amend were all denied. Petitioner’s
proposed amended claims, all of which he was or should have been aware of at the time he filed
his Motion to Vacate in April 2003, are time-barred and the subject claims cannot be construed as
relating back to the allegations in his Motion to Vacate which were timely raised. See United
States v. Pittman, 209 F.3d 314, 318 (4th Cir. 2000) (“[t]he fact that amended claims arise from
the same trial and sentencing proceedings as the original motion does not mean that the amended
claims relate back for purposes of Rule 15(c).”)

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